    Case 2:23-cr-00197-JS-AYS               Document 105           Filed 08/26/24        Page 1 of 3 PageID #:
                                                    2070
                                 UNITED STATES DISTRICT COURT
                                                        FOR THE
                                 EASTERN DISTRICT OF NEW YORK
                                                                                   Theodore Roosevelt Federal Courthouse
Brenna B. Mahoney                                                                     Emanuel Cellar Federal Courthouse
Clerk of Court                                                                                             225 Cadman Plaza East
                                                                                                             Brooklyn, NY 11201
August Marziliano                                                                                                 (718) 613-2270
Chief Deputy, Brooklyn
                                                                                      Alfonse D’Amato Federal Courthouse
                                                                                                                 100 Federal Plaza
Ogoro Francis-McLeish                                                                                      Central Islip, NY 11722
Chief Deputy, Central Islip                                                                                         (631) 712-6000
                                                                                                            Pro Se: (631) 712-6060
                                                                      Date: 8/26/024
                                                                      Re: 23-cr-00197(JS)(AYS)-1
Dear pro se litigant:

The enclosed letter is/are being returned without docketing or consideration for the following reason(s):

(     )   The docket number and/or judges’ initials are incorrect or missing.

(     )   Your signature is required on all papers filed with the Court. Please sign wherever an “X” appears.

(     )   These papers appear to be intended for another court or agency.

(     )   Papers cannot be filed without indicating that they have been served on all parties in your action, or their
          attorneys. This office will not forward copies of your papers to other parties or their counsel. An affirmation
          of service form is enclosed.

(    )    Your papers do not meet the minimum requirements for:
          ( )    Legibility: please type or print clearly.
          ( )    Language: only English is acceptable.
          ( )    Form or Content: See forms/instructions enclosed.
          ( )    Please indicate the documents you served on your affirmation of service.
          ( )    Other:

(     )   Pursuant to Local Civil Rule 5.1, discovery materials are not filed with the Court except by Order of the
          Court.

(     )   Your Notice of Appeal has been processed, and your case is closed. Your papers should be directed to:

                         United States Court of Appeals for the Second Circuit
                         Thurgood Marshall U. S. Courthouse
                         40 Foley Square
                         New York, NY 10007
(     ) Our records indicate that you are represented by an attorney. As such, you may not file papers or
         communicate directly with the Court. Please refer this matter to your attorney.

(     )   The Court cannot act on your submission(s). To the extent that it is your intent to start a new action, or to
          file a motion, please request the appropriate form(s) from our website or from our office.

(XX)      Other: The Court cannot consider ex parte submissions. If you wish to contact the Victim-Witness
                 Coordinator of the United States Attorney’s Office for the Eastern District of New Work, please
                 see https://www.justice.gov/usao-edny/victim-witness.


                                                                                        By: ________________
                                                                                                K. Santana
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 Jerry S. Small
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